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                            IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
                                     SAVANNAH DIVISION

    BRIAN J. HUFFMAN, as Administrator of          )
    the Estate of ELIUD MONTOYA-ARCOS,             )
    Deceased,                                      )
                                                   )
             Plaintiff,                            ) Case No. 4:18-cv-00184
                                                   )
                     v.                            ) Hon. R. Stan Baker
                                                   )
    THE DAVEY TREE EXPERT COMPANY;                 ) Oral Argument Requested
    WOLF TREE, INC; MARJORIE L.                    )
    CONNER; CHRISTOPHER Branch;                    )
    OSCAR CRUZ; and PABLO RANGEL,                  )
    also known as Pablo Rangel-Rubio,              )
                                                   )
             Defendants.                           )

                          CHRISTOPHER BRANCH’S MOTION TO DISMISS
                            AND INCORPORATED BRIEF IN SUPPORT

            COMES NOW Christopher Branch (“Defendant” or “Branch”) and files his Motion to

Dismiss and Incorporated Brief in Support. This Motion seeks dismissal of Plaintiff’s civil RICO,

assault and battery, and intentional infliction of emotional distress (“IIED”) claims. 1 See Doc. 123

at Counts 1-5 and 15.

      I.        Procedural Background

            Last year, Plaintiff filed an Amended Complaint and each of the named defendants filed

Motions to Dismiss. See Doc. 193. Those Motions were denied without prejudice, and the Court

ordered Plaintiff to comply with LR 9.1 by filing a complete RICO statement. Id. Plaintiff has




1
 In addition, Plaintiff has alleged negligence (Count 8), negligent hiring and retention (Count 10),
and respondeat superior (Count 9). Doc. 123. Plaintiff also brought a survival claim (Count 20)
and seeks attorney’s fees (Count 21) and punitive damages (Count 22). Id. These claims will be
addressed by a Motion for Summary Judgment at the appropriate time.
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done so (see doc. 196), and – in accordance with this Court's orders (see doc. 193 and 203) –

Defendant is now again seeking the dismissal of Plaintiff's RICO claims.

    II.      Statement of Alleged Facts 2

          Per the Amended Complaint (see Doc. 123 ¶ 16-95), Plaintiff makes the following

allegations specific to Defendant Branch 3:

             •   Branch was Pablo Rangel’s supervisor. 4 Doc. 123 ¶ 55.

             •   Rangel supervised employees of the Company Defendants in the Savannah area.

                 Id. ¶ 19. This included Eliud Montoya. Id. ¶ 43.

             •   In April 2017, Montoya created a “whistleblower report” alleging non-violent

                 illegal activity on the part of Rangel. Id. ¶ 50.

             •   After receiving a copy of the 2017 “whistleblower report,” Branch gave it to Rangel

                 and told him that Montoya was the “whistleblower.” Id. ¶ 55. This was an alleged

                 violation of a whistleblower policy set by the Company Defendants. Id.

             •   Rangel confirmed to Branch that he had “provided Wolf Tree illegal-alien

                 employees with false identifications in exchange for money.” Id. ¶ 56. Branch

                 reported this to the Company Defendants. Id.




2
  For purposes of this Motion only, the facts alleged in the Amended Complaint are assumed to be
true. See Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1347 (11th Cir. 2016) (“We accept, as we
must at this stage, the allegations in the complaint as true and construe them in the light most
favorable to the plaintiffs.”). It should be noted, however, that Plaintiff has taken extensive liberties
– and indeed, directly contradicts the record evidence – throughout the Amended Complaint and
in his LR 9.1 statement.
3
  The general facts and background are set forth in greater detail in the Company Defendants’
previously filed Motion to Dismiss. See Doc. 144.
4
  Plaintiff’s LR 9.1 Statement contradicts this, and erroneously claims that Branch is “an officer”
of Davey Tree and Wolf Tree. Doc. 196 at 75.

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    •   At a May 2017 meeting, which was called by Rangel and Oscar Cruz and attended

        by the Savannah workforce, “Rangel read Montoya’s whistleblower report aloud to

        all of the employees, stated that Montoya was the whistleblower, and threatened

        and intimidated Montoya.” Id. ¶ 61. Plaintiff labels this May 2017 meeting a “riot.”

        Id.

    •   At some point during the meeting, Branch – who was not present – called Cruz “to

        get an update on what was happening at the employee meeting.” Id.

    •   Later that month, one of the Company Defendants’ regional safety managers spoke

        to Montoya and read his April 2017 report. Id. ¶ 65-66. This safety manager then

        asked Branch about what should be done, and Branch said to contact the

        companies’ general counsel, Marjorie Conner. Id. ¶ 66.

    •   A few days later, Cruz allegedly overhead Branch, Branch’s supervisor (David

        Jackson), and another “corporate officer” discussing how to build a “paper trail” to

        “get rid of Montoya” and “silence him.” Id. ¶ 68.

    •   At some point during this period, Branch allegedly “falsely assured” Montoya that

        his 2017 whistleblower report was being taken seriously by the Company

        Defendants. Id. ¶ 72.

    •   In early August 2017, Montoya gave Conner three statements signed by other

        Savannah employees reporting on Rangel’s activities. Id. ¶ 75. Branch allegedly

        gave those statements to Rangel. Id. ¶ 77.

    •   On August 16, 2017, Montoya was suspended by David Jackson “for a false and

        fabricated ‘safe practice violation’” and Branch was aware of this. Id. at 79.




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          This is the full extent of Branch’s direct involvement in this matter, according to Plaintiff’s

own account of the facts as alleged in the Amended Complaint. See Doc. 193 ¶ 16-95. Notably

absent are any facts that support the conclusion that Branch himself committed any crimes or was

a knowing participant in an organized criminal enterprise. 5

          Plaintiff’s Rule 9.1 Statement fares no better. That document regurgitates the following

claims:

             •   Branch and others did not properly investigate Montoya’s “whistleblower” letter.

                 Doc. 196 at 6.

             •   Branch and others gave the letter to Rangel, “intending him to silence Montoya.”

                 Id.

             •   Branch and others did not prevent Rangel’s “threatening and retaliatory actions.”

                 Id. at 7.

             •   Branch and others directed Cruz to cite Montoya with an employee violation notice.

                 Id.

             •   Branch and Conner falsely assured Montoya that his allegations were being taken

                 seriously. Id. at 8.

             •   Branch provided statements from other employees to Rangel. Id. at 9.

             •   Branch and Conner informed Rangel of Montoya’s efforts to report Rangel’s

                 crimes. Id. at 10.




5
  “The Georgia General Assembly was specific in stating the limitations of the Georgia RICO Act:
The General Assembly declares that the intent of this chapter is to impose sanctions against the
subversion of the economy by organized criminal elements. This chapter shall be construed to
further that intent.” Doxie v. Ford Motor Credit Co., 603 F. Supp. 624, 628 (S.D. Ga. 1984)
(cleaned up).
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          More broadly, Plaintiff alleges that none of the Defendants appropriately addressed

Montoya’s complaints about Rangel, which resulted in Montoya going to the EEOC in August

2017. Doc. 193 ¶ 82. Two days later, Montoya was murdered. Id. ¶ 87. This murder was

premeditated by Rangel, and it was carried out by his brother Juan and a third party (Higinio Perez-

Bravo). Id. ¶ 87.

          As a result of Rangel’s criminal act, Plaintiff has brought a RICO claim against Branch,

as well as IIED and assault/battery allegations. As shown below, these claims are defective and

should be dismissed.

   III.      Argument and Citation to Authority

                 A. Legal Standard

          To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must present factual

allegations sufficient “enough to raise a right to relief above the speculative level.” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). “A pleading that offers

labels and conclusions or a formulaic recitation of the elements of a cause of action will not do.”

Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (emphasis added).

          On top of the Twombly/Iqbal standard, civil RICO claims require compliance with Rule

9(b) and LR 9.1. See Ambrosia Coal & Constr. Co. v. Pages Morales, 482 F.3d 1309, 1316 (11th

Cir. 2007) (applying Rule 9(b) analysis, noting that “[c]ivil RICO claims, which are essentially a

certain breed of fraud claims, must be pled with an increased level of specificity.”); see also

Williams v. Mohawk Indus., Inc., 314 F. Supp. 2d 1333, 1344 (N.D. Ga. 2004), amended, 4:04-

CV-0003-HLM, 2004 WL 7333989 (N.D. Ga. May 27, 2004), and aff'd in part, rev'd in part and

remanded, 411 F.3d 1252 (11th Cir. 2005), cert. granted, judgment vacated, 547 U.S. 516, 126 S.

Ct. 2016, 164 L. Ed. 2d 776 (2006) (“[T]he plaintiff was required to plead predicate acts … with



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particularity simply because Local Rule 9.1 for the United States District Court for the Southern

District of Georgia requires such specificity.”).

               B. Plaintiff has failed to plead a valid substantive RICO claim.

       To state a Georgia civil RICO claim, Plaintiff must plead – with specificity – the following

elements: (1) that Defendants violated the RICO statute (O.C.G.A. § 16-14-4), (2) that he has

suffered injury, and (3) that Defendants’ RICO violations were the proximate cause of the injury.

Functional Products Trading, S.A. v. JITC, LLC, 1:12-CV-0355-WSD, 2014 WL 3749213, at *13–

14 (N.D. Ga. July 29, 2014). “In order to make out a racketeering claim under Georgia’s RICO

statute, a claimant must allege two interrelated predicate offenses.” Jannuzzo v. Glock, Inc., 721

Fed. Appx. 880, 884 (11th Cir. 2018). And “[t]here must be a direct nexus between at least one of

the predicate acts listed under the RICO Act and the injury the plaintiff purportedly sustained.”

Functional Products Trading, S.A., 2014 WL 3749213, at *13–14 (citations omitted and cleaned

up). Finally, a plaintiff’s RICO allegations “must be supported by specific facts upon which the

Court can make a determination as to whether a plausible claim has been sufficiently alleged.”

Schmitt v. Reimer, CV 110-102, 2011 WL 13216939, at *9 (S.D. Ga. Aug. 17, 2011) (discussing

the specificity requirements set forth in the Federal Rules and this Court’s Local Rules).

       In the Amended Complaint, Plaintiff lays out Defendants’ alleged “pattern of racketeering

activity” in “paragraphs 109 through 142.” Doc. 123 ¶ 150. Of those, there are ten paragraphs that

mention Branch – always lumped alongside at least one other person – “soliciting” or “aiding and

abetting” a predicate offense. See id. ¶ 117-119 and 125-131. As demonstrated below, these

allegations do not amount to a valid RICO claim.

       Focusing first on the proximate cause element, Plaintiff’s RICO claims fail because he has

not shown that Branch’s alleged conduct “led directly to the plaintiff's injuries.” Petlechkov v.



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FedEx Corp., 2023 WL 2871651, at *3 (N.D. Ga. Apr. 7, 2023) (emphasis added); see Otero v.

Vito, 5:04-CV-211 (CAR), 2007 WL 445277, at *6 (M.D. Ga. Feb. 6, 2007) (“Inherent in every

Georgia RICO claim is a proximate-cause requirement.”). The applicable authority is clear: “to

survive a motion to dismiss, a plaintiff asserting a RICO claim must allege more than that an act

of racketeering occurred and that she was injured.” Wylie v. Denton, 323 Ga. App. 161, 166 (2013).

“Rather, she must show that her injury was the direct result of a predicate act targeted toward

her, such that she was the intended victim.” Id. (emphasis added).

       To satisfy this requirement, Plaintiff must “must show that one of the predicate acts directly

harmed [him], not a third party,” and that the “injury flowed directly from the predicate acts

targeted at [him].” Smith v. Morris, Manning & Martin, LLP, 293 Ga. App. 153, 165–66 (2008)

(emphasis in the original). This rule immediately disposes of Plaintiff’s claims about Branch’s

alleged participation in any scheme to use undocumented immigrants in violation of 8 U.S.C. §

1324(a)(1)(A) (doc. 123 ¶ 117), defraud Georgia Power in violation of O.C.G.A. § 16-8-3 and 18

U.S.C. § 1343 (id. ¶ 118-119), or threaten two unnamed undocumented immigrants in violation

O.C.G.A. § 16-11-37 (id. ¶ 129). 6 None of those alleged predicate offenses were directed at

Montoya, so they must be set aside from the start. See Lockhart v. Columbian Chemicals Co., Inc.,

1:07-CV-0669-BBM, 2007 WL 9706424, at *3 (N.D. Ga. Aug. 31, 2007) (“A RICO plaintiff “can

only recover for injuries incurred as a result of predicate acts directed towards himself, as opposed

to predicate acts directed towards third parties.”) (citations omitted); see also Maddox v. S. Eng'g

Co., 231 Ga. App. 802, 805, 500 S.E.2d 591, 594 (1998) (“If no injury flowed from a particular

predicate act, no recovery lies for the commission of that act.”).




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  These alleged violations would have been directed at the federal government, Georgia Power, or
the unnamed undocumented immigrants.
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         This leaves six predicate offenses allegedly committed by Branch and aimed at Montoya.

See Doc. 123 ¶ 125-128 and 130-131. Plaintiff claims the following:

   (1)      In a May 2017 meeting (which Plaintiff has termed a “riot”), “Conner, Branch and

            others” solicited a violation of O.C.G.A. § 16-10-93 (Influencing Witnesses) by

            Rangel, who was aided and abetted by Cruz. Id. ¶ 125.

   (2)      At the so-called riot, “Rangel, aided and abetted by Cruz and Branch, solicited and

            coerced others to make terroristic threats against Montoya, in violation of O.C.G.A. §

            16-11-37 [Terroristic Threats].” Id. ¶ 126.

   (3)      On June 1, 2017, “Cruz, at the direction and solicitation of Branch and other Wolf

            Tree and Davey Tree officers, threatened economic harm to Montoya by citing him

            with a false and retaliatory employee violation… in violation of O.C.G.A. § 16-10-

            32(b) [Threatening of Witnesses].” Id. ¶ 127.

   (4)      “From on or about April of 2017 through on or about August 7, 2017, Conner and

            Branch falsely assured Montoya that his whistleblower reports were being investigated

            and taken seriously by Davey Tree and Wolf Tree.... In so doing, Conner and Branch

            engaged in misleading conduct to influence a witness in violation of O.C.G.A. § 16-

            10-93(b) [Influencing Witnesses].” Id. ¶ 128.

   (5)      “On or about August 16, 2017, David Jackson, a corporate officer of Davey Tree and

            Wolf Tree, aided, abetted, and solicited by Branch, caused and threatened economic

            harm to Montoya by citing him with a false, fabricated and retaliatory employee

            violation and three-day suspension… in violation of O.C.G.A. § 16-10-32(b)

            [Threatening of Witnesses].” Id. ¶ 130.




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   (6)      On August 16, 2017, “Conner and Branch” informed Rangel of Montoya’s reporting

            of criminal activities to the EEOC. “In so doing, Conner and Branch aided, abetted

            and solicited retaliation against a federal witness, in violation of 18 U.S.C. § 1513

            [Retaliating Against a Witness].” Id. ¶ 131.

         These allegations are deficient for multiple reasons.

                          1. Plaintiff has failed to show a direct link between Branch’s actions
                             and Montoya’s injuries.

         As an initial matter, Plaintiff did not adequately plead proximate cause as to the six

predicate acts that were allegedly directed towards Montoya. “A plaintiff bringing a RICO claim

under Georgia law must show an injury by a pattern of racketeering activity.” Petlechkov v. FedEx

Corp., 23-12259, 2024 WL 729006, at *4 (11th Cir. Feb. 22, 2024) (citations and punctuation

omitted); see also Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 654–55 (2008) (for a RICO

plaintiff to have standing, there must be a “direct relation between the injury asserted and the

injurious conduct alleged.”). “The standard for establishing causation is high: When a court

evaluates a RICO claim for proximate causation, the central question it must ask is whether the

alleged violation led directly to the plaintiff's injuries.” Petlechkov, 2024 WL 729006, at *4

(citations and punctuation omitted, and emphasis added).

         Here, the injury to Plaintiff is the death of Montoya (and any pre-death pain and suffering,

along with related costs). Doc. 123 ¶ 271; see also Doc. 196 at 102-103 (discussing the following

injuries allegedly suffered by Plaintiff: murder, pain and suffering, emotional distress, and lost

income due to the murder, as well as nebulous, nonspecific “injuries and damages caused by the

threats of death and serious bodily injury” and the attempts to “influence and retaliate against

him.”). But Plaintiff fails to show a direct nexus between the murder of Montoya (or any other

injury) and any purported racketeering activity on the part of Branch. “RICO does not provide a

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remedy for every injury that may be traced to a predicate act, but instead requires proximate cause

between the injury and the act.” Parker v. Diverse Staffing Georgia, Inc., 120CV01913TWTRGV,

2020 WL 10575029, at *10 (N.D. Ga. Dec. 23, 2020), report and recommendation adopted, 1:20-

CV-1913-TWT, 2021 WL 3367263 (N.D. Ga. Jan. 12, 2021). Plaintiff’s “burden is not met where

a plaintiff shows merely that his injury was an eventual consequence of the predicate act or that he

would not have been injured but for the predicate act.” Overlook Gardens Properties, LLC v. Orix,

USA, LP, 366 Ga. App. 820, 834, 884 S.E.2d 433, 447 (2023). At best, Plaintiff’s allegations show

that Montoya’s injuries were an “eventual consequence” of Branch’s acts or omissions.

        Plaintiff claims that Branch was somehow a participant in other people’s efforts to (a)

keep Montoya from reporting Rangel’s crimes (Doc. 123 ¶ 125, 127, 128, 130), (b) threaten

Montoya (id. ¶ 126), or (c) retaliate against him (id. ¶ 131). But nothing Branch did – even taking

the Amended Complaint as true – led directly to the murder of Montoya. The alleged predicate

acts, at the very most, led indirectly to Plaintiff’s injuries. This is fatal to Plaintiff’s RICO claims,

as “[t]he connection between the racketeering activity and the injury can be neither remote, purely

contingent, nor indirect.” Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1349 (11th Cir. 2016)

(emphasis added). Brach did not order the hit or pull the trigger, and he did not even participate in

the alleged “riot,” threaten Montoya, write any employee violation notices, etc. So, while a

generous reading of the Amended Complaint might show that “Plaintiff's injuries may [have been]

a potentially foreseeable outcome of [Branch’s] alleged actions, … the [Amended] Complaint fails

to show that they are the direct result of those acts.” Petlechkov, 2024 WL 729006, at *4.

        In stark contrast, Plaintiff specifically alleges proximate cause as to Rangel’s predicate act

(murder). See, e.g., Doc. 123 ¶ 133 (“On August 19, 2017, Rangel, with malice aforethought, and

with the intent to retaliate against Montoya and to silence Montoya from further reporting criminal



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conduct to federal and state law enforcement, planned, aided, abetted and caused the murder of

Montoya, in violation of 18 U.S.C. § 1513(a) (Federal Witness Retaliation) and O.C.G.A. § 16-5-

1 (Murder).”). Of course, Plaintiff does not claim – because he cannot – that Branch had any hand

in the commission of that crime. Id. And, per the allegations of the Amended Complaint, the cause

of any non-murderous injuries to Montoya was due Rangel reading Montoya’s “whistleblower

report aloud” at the “riot” (see Doc. 123 ¶ 61), not any affirmative act by Branch. Thus, because

Plaintiff cannot establish the essential element of proximate cause as to Branch, the Amended

Complaint is due to be dismissed. See Petlechkov, 2024 WL 729006, at *4.

                        2. Plaintiff has failed meet Rule 9(b) and LR 9.1’s specificity
                           requirements.

       “To satisfy the Rule 9(b) standard, RICO complaints must allege: (1) the precise

statements, documents, or misrepresentations made; (2) the time and place of and person

responsible for the statement; (3) the content and manner in which the statements misled the

Plaintiffs; and (4) what the Defendants gained by the alleged fraud.” Ambrosia Coal & Constr.

Co. v. Pages Morales, 482 F.3d 1309, 1316 (11th Cir. 2007). “In a case with multiple defendants,

the complaint should contain specific allegations with respect to each defendant; generalized

allegations lumping multiple defendants together are insufficient.” W. Coast Roofing &

Waterproofing. Inc. v. Johns Manville, Inc., 287 Fed.Appx. 81, 86 (11th Cir. 2008) (emphasis

added, internal quotation marks omitted).

       Despite being on notice of the 9(b) pleading requirements (see Doc. 100), Plaintiff

continues to lump Defendants together in the paragraphs naming Branch. See Doc. 123 ¶ 117-119

and 125-131. In each of those paragraphs accusing Branch of wrongdoing, Branch is grouped with

at least one other party (and, in four instances, some unnamed “others”). Id. And Plaintiff’s 108-

page RICO Statement does not cure this problem. See Doc. 196. A search of the word “Branch”

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in that document yields 128 results, and – with just a few exceptions – every mention of Branch

has him lumped in with others. Id. This does not comply with this Court’s requirements for RICO

claims. See Christian v. Okefenokee Charlton Tr., 5:19-CV-034, 2020 WL 5242931, at *4 (S.D.

Ga. Sept. 2, 2020) (“Plaintiffs’ RICO Statement is unhelpful in navigating this claim because

instead of stating specifically what actions Defendants took that give rise to Plaintiffs’ state and

federal RICO claims, Plaintiffs instead present conclusory allegations that each Defendant

committed various predicate offenses (many of which are not also alleged in the Amended

Complaint), recount extraneous facts unrelated to their RICO claims, and generally fail to clearly

connect what facts they do allege to their RICO claims…”).

       In short, none of the allegations against Branch “fairly “alert [Branch] to the precise

misconduct with which [he] is charged.” Brooks v. Blue Cross & Blue Shield of Florida, Inc., 116

F.3d 1364, 1381 (11th Cir. 1997) (emphasis added). Indeed, nowhere in the Amended Complaint

are there specific facts 7 directed at Branch telling him “the precise statements, documents, or

misrepresentations made, the time and place of any such statement or documents, the content of

those statements or documents, the manner in which any such statements or documents mislead

the Plaintiff, or what [he] had to gain through any alleged fraud.” Walsh v. Carswell Cherokee

Tr., 5:19-CV-49, 2019 WL 13211093, at *6 (S.D. Ga. July 31, 2019) (emphasis added).

       This Court should reject outright the vague, overbroad, and conclusory claims of criminal

conduct lodged against Branch alongside the Company Defendants, Conner, Cruz, and “others.”

See Burgess v. Religious Tech. Ctr., Inc., 600 Fed. Appx. 657, 661–62 (11th Cir. 2015) (“This

court has repeatedly held that lumping multiple defendants together in such generalities is



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  Plaintiff should have had no difficulty pleading specific facts, as he has the reams of evidence
(including the transcripts of 50+ depositions) from the companion State Court case available to
him.
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insufficient under Rule 9(b)”); see also Swanson v. Cobb Cnty. Dep't of Family & Children Servs.,

1:21-CV-04978-JPB, 2023 WL 2169044, at *3 (N.D. Ga. Feb. 21, 2023) (“Where a plaintiff brings

claims against multiple defendants, ‘the complaint should contain specific allegations with respect

to each defendant; generalized allegations ‘lumping’ multiple defendants together are insufficient

to permit the defendants, or the Court, to ascertain exactly what plaintiff is claiming.’”). Counts 1-

3 of the Amended Complaint can be dismissed on this ground alone.

                         3. Plaintiff has failed to allege two predicate offenses committed by
                            Branch.

        Finally, Plaintiff has failed to provide factual support sufficient to show that Branch

actually committed two predicate offenses. Again, Plaintiff must show that Branch “committed

any predicate offense at least twice.” Benevolent Lodge No. 3 v. Davis, 365 Ga. App. 564, 568–

69, 878 S.E.2d 760, 764–65 (2022). Instead of such a showing, the Complaint only contains vague,

conclusory, and speculative allegations about Branch “soliciting,” “aiding and abetting,” or

“coercing” others to violate various predicate acts. And while “racketeering activity” can include

soliciting, coercing, or intimidating another to commit a crime (Dorsey v. State, 279 Ga. 534, 539,

615 S.E.2d 512, 518 (2005)), these allegations must be supported by well-pled facts. This is where

Plaintiff fails.

        Boiled down, the facts demonstrate that Branch’s actions were limited to (a) giving Rangel

the “whistleblower report,” (b) allegedly knowing about other people participating in a “riot” and

other people citing Montoya with “fabricated” workplace violations, and (c) generally not

conducting a thorough enough investigation into Montoya’s complaints. See Docs. 193 and 196.

None of this amounts to criminal activity.

        The closest Plaintiff comes to pleading a predicate act is the claim that, two days before

the murder, “Conner and Branch informed Rangel of Montoya’s reporting of criminal activities to

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the federal authorities.” Doc. 123 ¶ 131. But Plaintiff does not allege that it was in fact Branch

who “made sure Rangel knew of Montoya’s efforts to report criminal activities to federal

authorities.” Id. at 82-83. Thus, Plaintiff has included no factual support – outside of the single,

conclusory statement in paragraph 131 – to support the claim that Branch aided or abetted

retaliation against a federal witness. Furthermore, regardless of who allegedly informed Rangel of

Montoya going to the EEOC, that allegation – if believed – would provide support for only one

predicate act – an act which has not been sufficiently supported because there is no indication

that Branch “knowingly and substantially assisted the principal violation” (i.e., Rangel’s murder

scheme) as required in the RICO context. Cox v. Adm'r U.S. Steel & Carnegie, 17 F.3d 1386, 1410

(11th Cir. 1994). Branch could not have aided and abetted any retaliation against Montoya because

the facts as alleged do not show any “substantial assistance” from Branch, nor do they show that

he was aware of Rangel’s overall scheme to murder Montoya. Id.

       Plaintiff tries to morph Branch’s actions into predicate offenses by labeling his conduct as

“solicit[ing]” or “aid[ing] and abet[ing]” violations of O.C.G.A. § 16-10-93 (Influencing

Witnesses), O.C.G.A. § 16-11-37 (Terroristic Threats), O.C.G.A. § 16-10-32(b) (Threatening of

Witnesses), and 18 U.S.C. § 1513 (Retaliating Against a Witness). See Doc. 123 ¶ 125-128 and

130-131. The facts, however, do not support that Branch personally committed any of these

offenses or was a knowing participant in any such schemes. “Plaintiff merely references multiple

criminal statutes in a threadbare manner” and fails to “plausibly allege that [Branch] engaged in a

single act of racketeering—let alone a pattern of racketeering activity.” Delta Elite Investments,

LLC v. U.S. Bank Tr. Nat'l Ass'n, 1:23-CV-4265-SDG-JKL, 2024 WL 1009458, at *4 (N.D. Ga.

Jan. 18, 2024) (analyzing Georgia’s civil RICO statute). This is insufficient to state a colorable

RICO claim. See Jannuzzo v. Glock, Inc., 721 Fed. Appx. 880, 884 (11th Cir. 2018) (affirming the



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dismissal of a plaintiff’s RICO claims when the Complaint contained “conclusory statements

[un]supported by specific facts sufficient to plausibly constitute the alleged predicate offenses”).

               C. Count 3 fails because Plaintiff’s substantive RICO claim fails.

       O.C.G.A. § 16-14-4(c) provides that it is unlawful to conspire to violate O.C.G.A. § 16-

14-4(a)-(b). Plaintiff – in a deficient, conclusory fashion – brings his conspiracy claim based on

the same conduct as his underlying RICO claim (see Doc. 123 ¶ 163), but he “again fails to point

to specific facts indicating a ‘pattern of racketeering activity’ sufficient to support liability.” C.C.

v. H.K. Grp. of Co., Inc., 1:21-CV-1345-TCB, 2022 WL 467813, at *5 (N.D. Ga. Feb. 9, 2022)

(citations and punctuation omitted). And “[b]ecause [the] allegations are insufficient to plausibly

allege any RICO violation,” as demonstrated in the preceding sections, Plaintiff's RICO conspiracy

claim fails. Id; see also Jackson v BellSouth Telecomm’cns, 372 F.3d 1250, 1269 (11th Cir. 2004)

(dismissing RICO conspiracy claim where the court “already found that the complaint failed to

state a substantive RICO claim”); Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714, 728 (11th Cir. 2021)

(affirming dismissal of Section 4(c) conspiracy claim predicated on the same “allegations as the

substantive RICO claims”).

               D. Plaintiff’s intentional infliction of emotional distress (Count 15) claim fails.

       In addition to RICO, Plaintiff has brought an intentional infliction of emotional distress

(“IIED”) claim. See, e.g., Doc. 123 at Count 15. This claim also fails.

       In order to properly allege a claim based on the intentional infliction of emotional
       distress, a complaint must contain at least four elements: (1) [t]he conduct must be
       intentional or reckless; (2) [t]he conduct must be extreme and outrageous; (3)
       [t]here must be a causal connection between the wrongful conduct and the
       emotional distress; and (4) [t]he emotional distress must be severe.

Joyner v. Lifeshare Mgmt. Grp., LLC, 2018 WL 6092743, at *4 (S.D. Ga. Nov. 21, 2018) (Moore,

J.). Ordinary mental distress is not enough. “The law intervenes only where the distress inflicted



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is so severe that no reasonable man could be expected to endure it.” Bridges v. Winn-Dixie

Atlanta, Inc., 176 Ga. App. 227, 230 (1985) (emphasis added).

       The IIED claims must be dismissed because they consist of a rote recitation of the elements

of the tort accompanied by blanket citations to the entire fact section of the Amended Complaint.

See, e.g., Monsrud v. Regnerative Orthopaedics & Spine Inst., P.C., 2020 WL 12654451, at *9

(N.D. Ga. Sept. 9, 2020) (dismissing IIED claim because “mostly formulaic recitations of the

elements of the IIED claim, [] fall short of meeting the relevant pleading standard”) report and

rec. adopted sub nom., 2020 WL 12654449 (N.D. Ga. Sept. 29, 2020). The Amended Complaint

is silent on how any of Branch’s conduct was “extreme and outrageous” and was causally related

to any “severe” emotional distress suffered by Montoya. Joyner, 2018 WL 6092743, at *4.

       Indeed, Plaintiff has not set forth a single fact concerning emotional distress, let alone

severe emotional distress. For example, he does not allege that Montoya suffered any particular

type of emotional distress (e.g., terror, debilitating anxiety), experienced any physical

manifestation or mental health symptoms (e.g., psychotic break, despondency), or that he sought

out or obtained any medical or psychological treatment. 8 The absence of such allegations is fatal.

See e.g., Monsrud, 2020 WL 12654451, at *10 (IIED claim dismissed where plaintiff “fail[ed] to

allege facts showing that [she] has suffered extreme emotional distress;” that plaintiff was “under

stress and forced to seek medical care, with no allegation about any resulting treatment or diagnosis

of severe emotional distress, [were] insufficient”); Roberts v. JP Morgan Chase Bank, Nat'l Ass'n,

342 Ga. App. 73, 77 (2017) (dismissing IIED claim where complaint “says nothing at all about

humiliation, embarrassment, fright, extreme outrage, or severe emotional distress”); Timmons v.



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  Plaintiff also does not explain which of the Defendants’ conduct is extreme and outrageous, and
instead relies on every single factual allegation in the Amended Complaint. And since he does not
allege any emotional distress, he also fails to plead the causation element of the claim.
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Bryson, 2016 WL 4082710, at *7 (S.D. Ga. Aug. 1, 2016) (dismissing IIED claim where plaintiff

failed “to set forth any facts making it plausible that the actions of [defendants] caused him severe

emotional distress”).

                  E. Plaintiff’s assault and battery claims (Counts 4 and 5) fail.

         The tort of battery requires an unlawful touching. Lawson v. Bloodsworth, 313 Ga. App.

616, 618 (2012); O.C.G.A. § 51-1-13. Assault requires the “intention to commit an injury, coupled

with an apparent ability to do so.” Wallace v. Stringer, 250 Ga. App. 850, 853 (2001); O.C.G.A. §

51-1-14. But the only acts alleged in these counts of the Amended Complaint are that Juan Rangel

shot Montoya; that Juan Rangel “threatened” him with “physical injury . . . in the moments

leading up to his death;” and that Pablo Rangel and Cruz made unspecified threats of violence

“beginning in early May of 2017.” Doc. 123 ¶ 177, 181–182. There are zero allegations that the

Branch unlawfully touched or intended to injure Montoya. Accordingly, dismissal of Counts 4 and

5 is warranted.

   IV.      Conclusion

         Based on the foregoing, Defendant Christopher Branch respectfully requests that Plaintiff’s

RICO, assault and battery, and intentional infliction of emotional distress claims against him be

dismissed with prejudice. Defendant also hereby specifically joins in and adopts the arguments

addressing Plaintiff’s RICO claims set forth in the Company Defendants’ Motion to Dismiss

regarding (a) Plaintiff’s failure to properly plead the elements of the alleged predicate acts, (b) his

failure to plead acquisition injury, and (c) his failure to plead a distinct RICO enterprise.

                                      [Signature page follows.]




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      Dated: June 21, 2024

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                                CERTIFICATE OF SERVICE

       This is to certify that the foregoing was served through the Court’s ECF system upon all

counsel registered to receive service, and served via regular U.S. mail on the following:

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